               CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 1 of 29




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA
                                 NO. 22-CR-00124(5) (NEB-TNL)


      UNITED STATES OF AMERICA,

                           Plaintiff,
      v.
                                                            DEFENDANT SAID FARAH’S
      SAID SHAFII FARAH,                                         EXHIBIT LIST

                           Defendant.


              Pursuant to the Court’s February 22, 2024 Trial Notice and Final Pretrial Order

      (ECF No. 344), Defendant Said Shafii Farah (“Defendant”), by and through his

      undersigned counsel, hereby identifies the following exhibits he may use at the trial of this

      matter. Defendant reserves the right to revise or supplement this list as the evidence

      develops, introduce any exhibit identified by any other Party on its exhibit list, and/or to

      introduce such additional exhibits as may be needed for rebuttal, cross examination, to

      refresh recollections and/or for impeachment purposes, for demonstrative or illustrative

      purposes, or in response to any exhibit introduced by another party. Nothing herein shall

      be an admission that the documents listed are admissible in evidence if offered by any other

      party. Some exhibits may be admissible for one purpose but not for another purpose.

                                                                                    ADMITTED
Exhibit                                                                             (A)/NOT
           EXHIBIT DESCRIPTION            OBJECTIONS         OFFERED        WITNESS
No.                                                                                 ADMITTED
                                                                                    (NA)
           SAIDFARAH0001248-55 -
D5-001     Bushra Wholesalers Corporate
           Formation Documents
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 2 of 29




                                                                           ADMITTED
Exhibit                                                                    (A)/NOT
          EXHIBIT DESCRIPTION               OBJECTIONS   OFFERED   WITNESS
No.                                                                        ADMITTED
                                                                           (NA)
          SAIDFARAH0001247 -
          20210908 A. Aftin
D5-002
          Relinquishment of Ownership
          in Bushra
          SAIDFARAH0001141-95 -
D5-003    Bushra Contractor 1099s
          (Redacted)
          SAIDFARAH0001289-1313 -
D5-004    Bushra Contractor
          Identification Scans (Redacted)
          SAIDFARAH0001274-88 -
D5-005    Bushra Contract with Somali
          Community Resettlement
          SAIDFARAH0001197-98 -
          Somali Community
D5-006    Resettlement Complete
          Register of Invoices From
          Bushra
          SAIDFARAH0000172-242 - All
          Invoices from Bushra to Somali
D5-007
          Community Resettlement
          (Redacted)
          SAIDFARAH0000032-43 -
D5-008    Checks from SCR to Bushra
          (Redacted)
          SAIDFARAH0000031 -
          20211014 Check from Bushra
D5-009
          to Lafey Plaza LLC for 152,000
          (Redacted)
          SAIDFARAH0001475-76 -
          20211021 Check from Lafey
D5-010    Plaza to Selwin & Ortega
          Romero for 152,000
          (Redacted)
          SAIDFARAH0000082-85, 104-
D5-011    126 - Invoices from Bushra to
          Empire




                                                 2
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 3 of 29




                                                                           ADMITTED
Exhibit                                                                    (A)/NOT
          EXHIBIT DESCRIPTION               OBJECTIONS   OFFERED   WITNESS
No.                                                                        ADMITTED
                                                                           (NA)
          SAIDFARAH0000024, 26, 28,
D5-012    29, 51, 64-75, 79 - Checks from
          Empire to Bushra (Redacted)
          SAIDFARAH0000087-88, 281,
          986-92, 994-95 - Invoices from
D5-013    Empire to Bushra and
          Corresponding Check
          (Redacted)
          SAIDFARAH0000275, 277, 285
D5-014    - Checks from Bushra to MIB
          Holdings (Redacted)
          SAIDFARAH0000391-94 -
D5-015    Checks from Bushra to BB1 LLC
          (Redacted)
          SAIDFARAH0001321-48 -
D5-016    Bushra Invoice Yellow Slips to
          Empire
          SAIDFARAH0001349-62 -
D5-017    Bushra Invoice Yellow Slips to
          Islamic Society of Marshal
          SAIDFARAH0001363-86 -
D5-018    Bushra Invoice Yellow Slips to
          SCR Fairbault Site
          SAIDFARAH0001387-1424 -
D5-019    Bushra Invoice Yellow Slips to
          SCR MPLS Site
          SAIDFARAH0001425-39 -
D5-020    Bushra Invoice Yellow Slips to
          SCR Oromo Site
          SAIDFARAH0001440-56 -
D5-021    Bushra Invoice Yellow Slips to
          SCR Wilmar Site
          SAIDFARAH0001457-74 -
          Bushra Invoice Yellow Slips to
D5-022
          SCR St Cloud Somali Athletics
          Site
          SAIDFARAH0000128-42 -
D5-023    Sayazi Energy Limited Order
          and Supply Agreement

                                                 3
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 4 of 29




                                                                          ADMITTED
Exhibit                                                                   (A)/NOT
          EXHIBIT DESCRIPTION              OBJECTIONS   OFFERED   WITNESS
No.                                                                       ADMITTED
                                                                          (NA)
          SAIDFARAH0001256-73 -
D5-024    Capital View Properties
          Documents
          This Exhibit Number
D5-025
          Intentionally Left Blank
          SAIDFARAH0000016, 18-
          22,150-52 - Invoices from
D5-026    Mizal Consulting to Bushra and
          Corresponding Checks
          (Redacted)
          SAIDFARAH0000243-49 -
D5-027    Contract Between Nur
          Consulting and Bushra
          SAIDFARAH0000250, 266, 274,
          282-83, 947-56 - Invoices from
D5-028    Nur Consulting to Bushra and
          Corresponding Checks
          (Redacted)
          SAIDFARAH0000052-53, 62-63,
D5-029    252 - Checks from ThinkTech
          to Bushra (Redacted)
           SAIDFARAH0000086, 90, 414-
          17 - Invoices from Bushra to
D5-030    Kilimanjaro Restaurant and
          Corresponding Checks
          (Redacted)
          SAIDFARAH0000094-96, 420-
          21 - Invoices from Bushra to
D5-031    Math Tech Tutoring and
          Corresponding Check
          (Redacted)
          SAIDFARAH0000054-55 -
D5-032    Check from Islamic Society of
          Marshal to Bushra (Redacted)
          SAIDFARAH0000058-61 -
          Checks from St. Cloud Somali
D5-033
          Athletic Association to Bushra
          (Redacted)



                                                4
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 5 of 29




                                                                         ADMITTED
Exhibit                                                                  (A)/NOT
          EXHIBIT DESCRIPTION             OBJECTIONS   OFFERED   WITNESS
No.                                                                      ADMITTED
                                                                         (NA)
           SAIDFARAH0000893-910 -
D5-034    Invoices from Manmabuyu to
          Bushra
          SAIDFARAH0000270, 438-45 -
D5-035    Checks from Bushra to
          Manmabuyu (Redacted)
          SAIDFARAH0000728-52 -
D5-036    Invoices from AFC Foods to
          Bushra
          SAIDFARAH0000291-97 -
D5-037    Checks from Bushra to AFC
          Foods (Redacted)
          SAIDFARAH0000754-867 -
D5-038    Invoices from Afro Produce to
          Bushra
          SAIDFARAH0000258, 276, 395-
D5-039    402 - Checks from Bushra to
          Afro Produce (Redacted)
          SAIDFARAH0000091, 418-19 -
          Invoice from Bushra to Tawkal
D5-040
          Halal LLC and Corresponding
          Check (Redacted)
          SAIDFARAH0000347-51 -
D5-041    Checks from Bushra to Cafi
          Fashion (Rent) (Redacted)
          SAIDFARAH0000271, 997-1005
          - Invoices from Robbinsdale
D5-042    Food Market to Bushra and
          Corresponding Check
          (Redacted)
          SAIDFARAH0000093, 422-23 -
          Invoice from Bushra to Durdur
D5-043
          Bakery and Corresponding
          Check (Redacted)
          SAIDFARAH0000076, 97 -
          Invoice from Bushra to Madina
D5-044
          Grocery with Corresponding
          Check (Redacted)



                                               5
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 6 of 29




                                                                         ADMITTED
Exhibit                                                                  (A)/NOT
          EXHIBIT DESCRIPTION             OBJECTIONS   OFFERED   WITNESS
No.                                                                      ADMITTED
                                                                         (NA)
          SAIDFARAH0000169, 273, 370-
          77, 888-91 - Invoices from
          Gold Star to Bushra with
D5-045
          Corresponding Checks (Check
          Subpoena for Additional)
          (Redacted)
          SAIDFARAH0000254, 354-65 -
D5-046    Checks from Bushra to Rass
          Maua for Van Rent (Redacted)
          SAIDFARAH0000263, 868-73 -
          Invoices from Derby City Taxi
D5-047
          to Bushra with Corresponding
          Check (Redacted)
          SAIDFARAH0000264, 388-89,
          875-86 - Invoices from
D5-048    Dreamland Trading to Bushra
          with Corresponding Checks
          (Redacted)
          SAIDFARAH0000453-64 -
          Invoices from Xogmaal
D5-049    Production to Bushra with
          Corresponding Checks
          (Redacted)
          SAIDFARAH0000926-45 -
          Invoices from Moonlight
          Investment-Diis
D5-050
          Transportation with
          Corresponding Checks FLAG
          (Redacted)
          SAIDFARAH0000098, 428-89 -
          Invoice from Getway
D5-051    Transportation to Bushra with
          Corresponding Check
          (Redacted)
          SAIDFARAH0000268, 403-13,
          919-24 - Invoices from Sahal
D5-052    Wholesales to Bushra with
          Corresponding Check FLAG
          (Redacted)

                                               6
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 7 of 29




                                                                          ADMITTED
Exhibit                                                                   (A)/NOT
          EXHIBIT DESCRIPTION              OBJECTIONS   OFFERED   WITNESS
No.                                                                       ADMITTED
                                                                          (NA)
          SAIDFARAH0000299-301 -
          Invoice from Afrique
D5-053    Hospitality to Bushra with
          Corresponding Check
          (Redacted)
          SAIDFARAH0000289, 378-83 -
          Checks from Bushra to As
D5-054
          Sunnah Islamic Center
          (Redacted)
          SAIDFARAH0000081, 386-7 -
          Invoice from Asli to Bushra
D5-055
          with Corresponding Check
          FLAG (Redacted)
          SAIDFARAH0000430-33 -
          Invoices from Darulhuda Cargo
D5-056    LLC to Bushra with
          Corresponding Check
          (Redacted)
          SAIDFARAH0000465-73 -
          Invoices from Digale to Bushra
D5-057
          with Corresponding Checks
          FLAG (Redacted)
          SAIDFARAH0000044-50 -
          Numerous Checks to Bushra
D5-058    from Empire, Kilimanjaro,
          Derman, SCR, ThinkTech, Five
          Star, and Others (Redacted)
          SAIDFARAH0000303-18 -
D5-059    Numerous Check Records from
          Bushra to Other Entities
          SAIDFARAH0000319-44 -
D5-060    Numerous Check Records from
          Bushra to Other Entities
          SAIDFARAH0000056-57 -
D5-061    Check from Madina to Bushra
          (Redacted)




                                                7
              CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 8 of 29




                                                                          ADMITTED
Exhibit                                                                   (A)/NOT
          EXHIBIT DESCRIPTION              OBJECTIONS   OFFERED   WITNESS
No.                                                                       ADMITTED
                                                                          (NA)
          SAIDFARAH0000077-78 -
          20210405 Check from Hassan
D5-062
          Abdullahi to Bushra
          (Redacted)
          SAIDFARAH0000253 -
          20210618 Check from Bushra
D5-063
          to Community Resource Bank
          for 100,300 (Redacted)
          SAIDFARAH0000255 -
D5-064    20211115 Check from Bushra
          to Abdifatah Duale (Redacted)
          SAIDFARAH0000256-57 -
D5-065    Checks from Bushra to Said
          Farah (Redacted)
          SAIDFARAH0000260 -
D5-066    20210609 Check from Bushra
          to Said Farah (Redacted)
          SAIDFARAH0000267 -
D5-067    20210910 Check from Bushra
          to Abdi Aftin (Redacted)
          SAIDFARAH0000261 -
D5-068    20210610 Check from Bushra
          to Abdi Aftin (Redacted)
          SAIDFARAH0000262 -
D5-069    20210614 Check from Bushra
          to Hollyland (Redacted)
          SAIDFARAH0000269 -
          20210909 Check from Bushra
D5-070
          to Mumtaz Mohamed (Payroll)
          (Redacted)
          SAIDFARAH0000272 -
D5-071    20210922 Check from Bushra
          to Aflah (Redacted)
          SAIDFARAH0000278 -
          20210728 Check from Bushra
D5-072
          to Sompride Express (Delivery)
          (Redacted)




                                                8
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 9 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION            OBJECTIONS   OFFERED   WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0000279 -
D5-073    20210802 Check from Bushra
          to US Halal Foods (Redacted)
          SAIDFARAH0000352-3 - Check
          from Bushra to Alamu
D5-074
          Distribution (Logistics)
          (Redacted)
          SAIDFARAH0000280 -
D5-075    20210804 Check from Bushra
          to Said Malin (Redacted)
          SAIDFARAH0000286 -
          20210830 Check from Bushra
D5-076
          to Zainab Osman (Payroll)
          (Redacted)
          SAIDFARAH0000366-67 -
          Checks from Bushra to Betal
D5-077
          Afan Oromo (Rental Space)
          (Redacted)
          SAIDFARAH0000287 -
D5-078    20210923 Check from Bushra
          to You Win Auto (Redacted)
          SAIDFARAH0000288 -
          20211104 Check from Bushra
D5-079
          to Hana Mohamed (Payroll)
          (Redacted)
          SAIDFARAH0000368-69 -
          Check from Bushra to Kenneth
D5-080
          Wilson (Attorney Fees)
          (Redacted)
          SAIDFARAH0000384-5 - Check
D5-081    from Bushra to New Prospect
          Learning (Redacted)
          SAIDFARAH0000424-27 -
D5-082    Checks from Saba Star to
          Bushra (Redacted)
          SAIDFARAH0000434-35 -
D5-083    Check from Bushra to Sadaamz
          Trucking (Redacted)



                                              9
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 10 of 29




                                                                         ADMITTED
Exhibit                                                                  (A)/NOT
          EXHIBIT DESCRIPTION             OBJECTIONS   OFFERED   WITNESS
No.                                                                      ADMITTED
                                                                         (NA)
          SAIDFARAH0000446-52 -
D5-084    Checks and Invoices from
          Bushra to Aflah (Redacted)
          SAIDFARAH0000475-726 -
          Checks from Bushra to
D5-085
          Contractors with some ID
          Documents (Redacted)
          SAIDFARAH0000001-7 -
D5-086    Invoices from Upper Lakes
          Foods to Bushra
          SAIDFARAH0000089 -
D5-087    20210911 Invoice from Bushra
          to Derman Senior Care
          SAIDFARAH0000092 -
D5-088    20210322 Invoice from Bushra
          to Five Star Halal
          SAIDFARAH0000099-102 -
D5-089    Invoices from Five Star Halal
          Market to Bushra
          SAIDFARAH0000153-168 -
D5-090    Invoices from MN Food
          Wholesalers LLC to Bushra
          SAIDFARAH0000259 -
          20210527 Withdrawal from
D5-091
          Bushra Checking for 100,000
          (Redacted)
          SAIDFARAH0000265 -
          20211012 Withdrawal from
D5-092
          Bushra Checking for 24,006
          (Redacted)
          SAIDFARAH0000914-18 -
D5-093    Invoices from Midwest food &
          Meat Distribution to Bushra
          SAIDFARAH0000919-24 -
D5-094    Invoices from Sahal Dairy
          Foods to Bushra
          SAIDFARAH0000962-84 -
D5-095    Invoices from Omaar
          Wholesalers to Bushra

                                               10
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 11 of 29




                                                                         ADMITTED
Exhibit                                                                  (A)/NOT
          EXHIBIT DESCRIPTION             OBJECTIONS   OFFERED   WITNESS
No.                                                                      ADMITTED
                                                                         (NA)
          SAIDFARAH0001007 - Invoice
D5-096
          from Spice Bar to Bushra
          SAIDFARAH0001017-26 -
D5-097    Invoices from Budget Rental
          Car to Bushra
          SAIDFARAH0001028-51 -
D5-098    Receipts from Costco, Sams
          Club, and Cub to Bushra
          SAIDFARAH0001053-75 -
D5-099    Receipts from Gas Stations to
          Bushra
          SAIDFARAH0001077-82 -
D5-100    Receipts from Office Supply
          Stores to Bushra
          SAIDFARAH0001084-1140 -
D5-101    Truestone, BofA, Huntington
          Bank Statements (Redacted)
          SAIDFARAH0001199 - Sunrise
D5-102    Bushra Property Management
          Deposit Inquiry (Redacted)
          SAIDFARAH0001200 - Sunrise
D5-103    Bushra Property Management
          Report (Redacted)
          SAIDFARAH0001201 - Bank of
          America Said Farah Personal
D5-104
          Bank Records and Check
          Captures (Redacted)
          SAIDFARAH0001314-17 -
          Sunrise Bushra Property
D5-105
          Management Escrow Records
          (Redacted)
          SAIDFARAH0001318-20 -
          Sunrise Bushra Property
D5-106
          Management Escrow Records
          (Redacted)
          D5AFCFoodsSubp_00001-7 -
D5-107    AFC Foods Subpoena
          Responses


                                               11
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 12 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION            OBJECTIONS   OFFERED   WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          D5CafiSubp_00001-3 - Cafi
D5-108    Fashion Subpoena Responses
          (Redacted)
          D5DreamlandSubp_00001-17 -
D5-109    Dreamland Subpoena
          Responses
          D5GoldStarSubp_00001-6 -
D5-110
          Gold Star Subpoena Responses
          SAIDFARAH0003700 - Idriss
D5-111    Omar Phone Download
          Cellebrite Data Summary
          SAIDFARAH0001876-2158 -
D5-112    Cellebrite Extraction Report
          for Idriss Omar Phone
          SAIDFARAH0001481 -
D5-113    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001482 -
D5-114    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001485–98 -
D5-115    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001499 -1501 -
D5-116    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001502-03 -
D5-117    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001504-06 -
D5-118    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001508 -19 -
D5-119    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001520-22 -
D5-120    Document collected from
          Mobile Phone of Idriss Omar


                                              12
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 13 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001523-43 -
D5-121    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001544-45 -
D5-122    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001546-47 -
D5-123    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001548-49 -
D5-124    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001550-54 -
D5-125    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001555 -
          Document collected from
D5-126
          Mobile Phone of Idriss Omar
          (Redacted)
          SAIDFARAH0001556 -
D5-127    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001557 -
D5-128    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001558 -
D5-129    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001559 -
D5-130    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001564 -
D5-131    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001565 -
D5-132    Document collected from
          Mobile Phone of Idriss Omar




                                             13
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 14 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001566 -
D5-133    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001567 -
D5-134    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001568 -
D5-135    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001569 -
D5-136    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001570 -
D5-137    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001572 -
D5-138    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001574 -
D5-139    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001575 -
D5-140    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001576 -
D5-141    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001577 -
D5-142    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001578 -
D5-143    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001580 -
D5-144    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001581 -
D5-145    Document collected from
          Mobile Phone of Idriss Omar

                                             14
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 15 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001582 -
D5-146    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001583 -
D5-147    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001584 -
D5-148    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001586 -
D5-149    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001590 -
D5-150    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001592 -
D5-151    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001594 -
D5-152    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001595 -
D5-153    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001598 -
D5-154    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001604 -
D5-155    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001607 -
D5-156    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001609 -
D5-157    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001614 -
D5-158    Document collected from
          Mobile Phone of Idriss Omar

                                             15
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 16 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001625 -
D5-159    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001626 -
D5-160    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001627 -
D5-161    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001628 -
D5-162    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001629 -
          Document collected from
D5-163
          Mobile Phone of Idriss Omar
          (Redacted)
          SAIDFARAH0001630 -
D5-164    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001631 -
D5-165    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001632 -
D5-166    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001633 -
D5-167    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001634 -
D5-168    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001635 -
D5-169    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001636 -
D5-170    Document collected from
          Mobile Phone of Idriss Omar




                                             16
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 17 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001638 -
D5-171    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001639 -
D5-172    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001640 -
D5-173    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001642 -
D5-174    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001643 -
D5-175    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001644 -
D5-176    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001646 -
D5-177    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001647 -
D5-178    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001649 -
D5-179    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001650 -
D5-180    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001651 -
D5-181    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001652 -
D5-182    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001654 -
D5-183    Document collected from
          Mobile Phone of Idriss Omar

                                             17
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 18 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001655 -
D5-184    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001656 -
D5-185    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001657 -
D5-186    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001658 -
D5-187    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001659 -
D5-188    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001661 -
D5-189    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001662 -
D5-190    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001663 -
D5-191    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001664 -
D5-192    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001671 -
D5-193    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001675 -
D5-194    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001676 -
D5-195    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001677 -
D5-196    Document collected from
          Mobile Phone of Idriss Omar

                                             18
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 19 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001680 -
D5-197    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001685 -
D5-198    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001686 -
          Document collected from
D5-199
          Mobile Phone of Idriss Omar
          (Redacted)
          SAIDFARAH0001687 -
D5-200    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001696 -
D5-201    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001697 -
          Document collected from
D5-202
          Mobile Phone of Idriss Omar
          (Redacted)
          SAIDFARAH0001698 -
          Document collected from
D5-203
          Mobile Phone of Idriss Omar
          (Redacted)
          SAIDFARAH0001699 -
D5-204    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001700 -
D5-205    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001701 -
D5-206    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001705 -
D5-207    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001706 -
D5-208    Document collected from
          Mobile Phone of Idriss Omar

                                             19
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 20 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001707 -
D5-209    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001708 -
D5-210    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001709 -
D5-211    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001710 -
D5-212    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001712 -
D5-213    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001714 -
D5-214    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001715 -
D5-215    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001717 -
D5-216    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001718 -
D5-217    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001719 -
D5-218    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001720 -
D5-219    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001721 -
D5-220    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001722 -
D5-221    Document collected from
          Mobile Phone of Idriss Omar

                                             20
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 21 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001723 -
D5-222    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001724 -
D5-223    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001725 -
D5-224    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001726 -
D5-225    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001728 -
D5-226    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001729 -
D5-227    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001730 -
D5-228    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001731 -
D5-229    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001732 -
D5-230    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001733 -
D5-231    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001734 -
D5-232    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001735 -
D5-233    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001736 -
D5-234    Document collected from
          Mobile Phone of Idriss Omar

                                             21
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 22 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001737 -
D5-235    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001738 -
D5-236    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001741 -
D5-237    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001744 -
D5-238    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001753 -
D5-239    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001764 -
D5-240    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001767 -
D5-241    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001768 -
D5-242    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001773 -
D5-243    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001775 -
D5-244    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001776 -
D5-245    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001777 -
D5-246    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001779 -
D5-247    Document collected from
          Mobile Phone of Idriss Omar

                                             22
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 23 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001804 -
D5-248    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001807 -
D5-249    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001808 -
D5-250    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001809 -
D5-251    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001811 -
D5-252    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001812 -
D5-253    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001813 -
D5-254    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001814 -
D5-255    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001817 -
D5-256    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001818 -
D5-257    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001819 -
D5-258    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001820 -
D5-259    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001821 -
D5-260    Document collected from
          Mobile Phone of Idriss Omar

                                             23
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 24 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001822 -
D5-261    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001823 -
D5-262    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001824 -
D5-263    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001825 -
D5-264    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001863 -
D5-265    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001864 -
D5-266    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001865 -
D5-267    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001866 -
D5-268    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001867 -
D5-269    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001869 -
D5-270    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001870 -
D5-271    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001872 -
D5-272    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001873 -
D5-273    Document collected from
          Mobile Phone of Idriss Omar

                                             24
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 25 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0001875 -
D5-274    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0001875 -
D5-275    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0002162 -
D5-276    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003307-20 -
D5-277    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003321-23 -
D5-278    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003324-25 -
D5-279    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003326-28 -
D5-280    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003330-41 -
D5-281    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003344-46 -
D5-282    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003347-67 -
D5-283    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003368-69 -
D5-284    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003370-71 -
D5-285    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003372-73 -
D5-286    Document collected from
          Mobile Phone of Idriss Omar

                                             25
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 26 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0003374-78 -
D5-287    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003704 -
D5-288    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003705 -
D5-289    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003709 -
D5-290    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003710 -
D5-291    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003711 -
D5-292    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003713 -
D5-293    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003716 -
D5-294    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003717 -
D5-295    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003718 -
D5-296    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003719 -
D5-297    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003720 -
D5-298    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003721 -
D5-299    Document collected from
          Mobile Phone of Idriss Omar

                                             26
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 27 of 29




                                                                        ADMITTED
Exhibit                                                                 (A)/NOT
          EXHIBIT DESCRIPTION           OBJECTIONS   OFFERED    WITNESS
No.                                                                     ADMITTED
                                                                        (NA)
          SAIDFARAH0003723 -
D5-300    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003724 -
D5-301    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003726 -
D5-302    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003727 -
D5-303    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003728 -
D5-304    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003729 -
D5-305    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003730 -
D5-306    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003733 -
D5-307    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003734 -
D5-308    Document collected from
          Mobile Phone of Idriss Omar
          SAIDFARAH0003735 -
D5-309    Document collected from
          Mobile Phone of Idriss Omar




                                             27
            CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 28 of 29




         All Documents Produced by
         the Government Relating to
         Hadith Ahmed or any
         Company Fully or Partially
         owned by him including Mizal
         Consulting and South West
         Metro Youth, including but not
         limited to RPT00000130-93,
         RPT00000201-20,
         GJS00292046-97,
         GJS00292309-26,
         GJS00293025-72,
         GJS00297202-24,
         GJS00297922-83,
         GJS00298014-19,
         GJS00298036-59,
         GJS00298092-121,
         GJS00298161-203,
         GJS00303408-09,
         GJS00350151-70,
         GJS00350186-89,
D5-310   GJS00350245-53,
         GJS00350400-12,
         GJS00350441-44,
         GJS00350500-31,
         GJS00350694-97,
         GJS00350724-32,
         GJS00350789-808,
         GJS00351051-127,
         GJS00837002,
         GJS00837509-15,
         GJS00837536-37,
         GJS00838052-53,
         GJS00838060-64,
         GJS00838099-102,
         GJS00838152-55,
         GJS00838168-72,
         GJS00838261-77,
         GJS00838662-83,
         GJS00838742-85,
         GJS00839266-68,
         GJS00903973-77,
         GJS00903981-4082.


                                           28
             CASE 0:22-cr-00124-NEB-TNL Doc. 403 Filed 04/02/24 Page 29 of 29




                                                                                ADMITTED
Exhibit                                                                         (A)/NOT
          EXHIBIT DESCRIPTION              OBJECTIONS     OFFERED       WITNESS
No.                                                                             ADMITTED
                                                                                (NA)
          All exhibits identified on any
          other Party’s exhibit list
          All evidence that further
          develops or that becomes
          necessary in response or
          rebuttal to any testimony or
          exhibit put into evidence by
          any other party

                                             MASLON LLP

      Dated: April 2, 2024                   By: /s/ Steven L. Schleicher
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                                                 Clayton J. Carlson (#0401182)
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                                             90 South Seventh Street
                                             Minneapolis, MN 55402-4140
                                             Telephone: (612) 672-8200
                                             Facsimile: (612) 642-8354
                                             Email: steve.schleicher@maslon.com
                                                       clayton.carson@maslon.com

                                             ATTORNEYS FOR DEFENDANT SAID
                                             SHAFII FARAH




                                                  29
